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8
      Special Litigation Counsel for
9     Plaintiff
10
                            UNITED STATES BANKRUPTCY COURT
11                           CENTRAL DISTRICT OF CALIFORNIA
                                   NORTHERN DIVISION
12
      In re                                   §
13                                            § ADV NO. 9:18-AP-01058-DS
      CHANNEL TECHNOLOGIES                    §
14    GROUP, LLC,                             §
15        Debtor.                             §
                                              §
16                                            §
      CORPORATE RECOVERY                      § NOTICE OF WITHDRAWAL OF
17    ASSOCIATES, LLC, as Trustee for         § DOCUMENT NO. 265
18    the Liquidating Trust of Channel        §
      Technologies Group, LLC,                §
19                                            §
              Plaintiff,                      §
20    v.                                      §
21                                            §
      BLUE WOLF CAPITAL PARTNERS,             §
22    LLC, et al.,                            §
                                              §
23            Defendants.                     §
24

25                              NOTICE OF WITHDRAWAL
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1            Plaintiff Corporate Recovery Associates, LLC, solely in its capacity as Trustee for the

2     Liquidating Trust of Debtor Channel Technologies Group, LLC (“Plaintiff”) files this Notice of

3     Withdrawal of Joint Status Report, ECF No. 265.

4

5     Dated: August 20, 2020
6
                                                        Respectfully submitted,
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17                                                      Special Litigation Counsel for
                                                        Corporate Recovery Associates,
18
                                                        LLC, Trustee for the Liquidating
19                                                      Trust of Debtor Channel
                                                        Technologies Group, LLC
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     NOTICE OF WITHDRAWAL                                                                    PAGE 2
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                                       PROOF OF SERVICE
1
      STATE OF TEXAS, COUNTY OF DALLAS
2
             I am employed in the County of Dallas, State of Texas. I am over the age of 18 and
3     not a party to the within action; my business address is 2100 Ross Avenue, Suite 2700,
      Dallas, Texas 75201.
4
      On August 20, 2020, I caused the document described below as NOTICE OF
5     WITHDRAWAL OF DOCUMENT NO. 265 to be served on all interested parties in this
      action via email:
6
                                  SEE ATTACHED SERVICE LIST
7     []     (BY MAIL) I caused such envelope(s) fully prepaid to be placed in the United States
      Mail at Dallas, Texas. I am “readily familiar” with the firm’s practice of collection and
8     processing correspondence or mailing. Under that practice it would be deposited with the
      U.S. Postal Service on that same day with postage thereon fully prepaid at Dallas, Texas in
9     the ordinary course of business. I am aware that on motion of the party served, service is
10    presumed invalid if postal cancellation date or postage meter date is more than one day
      after date of deposit for mailing in affidavit.
11
      []     (BY OVERNIGHT-FEDERAL EXPRESS) I caused said document(s) to be picked
12    up by U.S. Federal Express Services for overnight delivery to the offices of the addressees
      listed on the Service List.
13
      []    (BY PERSONAL SERVICE) I caused to be delivered such document by hand to the
14    above-identified recipient through the use of First Legal Attorney Service whose address is:
      1517 West Beverly Boulevard, Los Angeles, CA 90026, and whose telephone number is
15
      (213) 250-1111.
16
      []   (BY FACSIMILE) I caused said document(s) to be telephonically transmitted to each
17    addressee’s telecopier (Fax) number as noted.

18    [XX] (BY ELECTRONIC MAIL) I caused said document(s) to be served via electronic
      transmission to each addressee’s electronic mail address(es) as noted on the attached
19    Service List.
20
      I declare under penalty of perjury under the laws of the State of California that the above
21    is true and correct.

22    Executed on August 20, 2020, at Dallas, Texas.

23                                                             Emily Burch

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     NOTICE OF WITHDRAWAL                                                                  PAGE 3
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1                                      SERVICE LIST
2
               United States Bankruptcy Court – Central District of California
3                                   Northern Division
                                Case No. 9:18-AP-01058-DS
4                                 Our File No. 03349.801

5
                Served By The Court Via Notice Of Electronic Filing (“NEF”)
6

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